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POSSESS/RECEIVE FIREARMS THROUGH INTERSTATE C%l%/T'Ll\£&

 

lj’.. A'i`TORNE\"S N,\ME (
.-\.\‘D h'l.-ill.l]\`(] ADDRESS

First Naine,M.l., [.ast Name, including sn_\‘ sull'ix]

Garncr. Linda K.
217 Exc_han e Avenue
Mcmphls T 38105

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_'--_.,____

 

l-i. NAME .-\ND l\lAlLlNG ADDRESS ()F l.A\\'

FIRM (on|_\' provide per instructions]

 

13. COURT ORDER

0 Appointing Cuunsol i:i C Cr.i'(`.`ounsol
F Subs For Faderal Defender ij k Suhs 1-`nr Retained
m P Subs Ftir Fanei Altorney i:] \' Stanclby Counse|

Prior Atlurne_\"s Name:

 

 

Appuintment l)ate:
%ecause the above-named person represented has testified under oath or has
herwl.se satisfied this court that lle or she{l) is financially unable to employ cmnsel ind
(2) dues nut wish to wai\'¢ tounse|, and because the interests ol`justis:e so require. the

attorney whrse name appears ln llenl 12 is appointed t represent tth person in this case.
or

ij oiu.-r@‘foinnucis)‘ j d M/F

Sigriature o|' Preslding Jl.idlc:a| O|‘I`icer or B_v ()rder nt` the Court

 

    
  
  

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(]'H'J l /Df`|()i
Daie oI'Order Nunc l’ru 'l'unc Dlte
Repayment or partial repayment ordered from the person represented for this s ets-ice at
time ofappoinlment. i:] YES m NO
i' _cLAIM Fo_n smwrc`es ANo nxra'msi:s " : " ` ` l '.FoR comr-osm oNLY '
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CLA]MED HOURS AMOUNT

15. a. Arralgnment and/or Plea

b. Bail and Detention Hearings

c. Motion Hearings
l
n d. Trial
g c. Sentencing Hearings
3 f. Re\'ocation Hearlngs
: g. Appea|s Court

h. Other (Specify on additional sheets)

(Race per hour =S ) TOTALS:

lo. a. interviews and Confercnces
no b. Obtaining and reviewing records
0 c. Legal rese arch and brief writing
§ d. Travo| time
l‘,’ e. Investigative and Oiher work (spe¢ir,- on manion-l nunn
F
c (Rate per hour w 5 ) TOTALS:
i'.'. Travel Expenses {lodging, parking, meals. mileage. etc.)
18. Othel‘ E‘Jtpenses (other than expert, transcripts, etc.)

' ' ' z z G`RAND TO't‘ALS" (CLAIMED _ _ AND AD.¥U§I'ED d )= 7 4 . 7 .
i9. CERTIF]CA'IION OF ATTORNEY)'PAYEE FOR THE PER|OD 0 l" SERVICE, 20. APPO|NTMENT TERMINATIDN DATE 1|. CASE D[SFO SITlON

lF OTHER Tl-{AN CASE COMPLETION
FROM TO
ll Cl.:\l.\'l STATL'S U Final Pa_\'ment [:I lolerim Payment Number __ \:\ Supp|emental Payment _
Ilavi: you previously applied to lite court l'cr compensation and/ur remimbursement for this case'.‘ E] YES ij NO [|'yes, were you psid'.' l] YES m i\O

Other than from the €nlli]f, h¢\'e yuu, or to)'our knowledge luis anyone els¢. received payment (compensalion or anything or value) from any other source in connection with this

representation?
l swear or amrns the

Signaiure of Atturney:

YES E NO I[yes, give delails on additional sheets.
truth nr correctness ol` the above statements.

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29. IN COI.` RT C[)MF. 3(|. OUT OF COURT COMP. 31. 'I`R,\VEL E.\'PENSES 32. OTHER EXPF,=\`SES 33. T(}TAL AMT. M’PRO\`ED
34. Sl(lNA'l`URE ()F ClllEF .JU|)(}E, (,`OURT OF i-\Pl’ EALS (OR l)l".lsl€(:»\'l`l‘f) Pa_\-uient DA'l`F. .'l-hi. JUDGE CO|]E

 

 

 

 

.'his document entered on the docket sheet in compliance
oath Hule 55 and/or 32(b) FRCrP on " 5 '

 

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This notice confirms a copy ofthc document docketed as number 8 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
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Linda Kendall Garner

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Katrina U. Earley

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Ste. 800

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Honorable J on McCalla
US DISTRICT COURT

